 1   SHAWN N ANDERSON
     Acting Unied States Attomcy
 2   CLYDE LEMONS,JR
     Assistant U S A■ omcy
 3   Suite 500,Sirena Piaza
     108 Hcrnan Cortcz Avcnuc
 4   Hagatia,Guam 96910‐ 5009
     PHONE:(671)472-7332
 5
     FAX:(671)472‐ 7334

     Attomcys forthe Unicd Statcs ofAmcrica
 6
                                  Dヾ   THE UNITED STATES DISTRICT COURT
 7
                                        FOR THE TERRITORY OF GUAM
 8
     tlNITED STATES OF AMERICA,                              CRIMNAL CASE NO 15‐ 00041
 9
                                                 Plaintift
10
                  VS                                         MOTION FOR FNAL ORDER OF
11                                                           FORFEITURE RE:WEAPONS AND
     JUSTDヾ ROBERTヽ VHITE CRUZ,                              AMLINIT10N
12                                             Defendant.

13
                        The United States of Americ4 by its undersigred counsel, respectfully submits its
14
     Motion for a Final Order of Forfeiture in the above-entitled case for the reasons set forth in the
15
     following supporting suggestions.
16
             l.         On December 15, 2016, the Court issued an Amended Preliminary Order         of
17
     Forfeiture (ECF No. 214), finding the requisite nexus between the prope(y and the offenses of
18
     conviction 21 U.S.C. $$ 846 and 841(a)(1) and (bXlXC), and in accordance with           2l U.S.C. $
19
     853 and Fed. R. Crim. P.32.2(b), forfeited to the United States: One     (l)   Glock 27.40 caliber
20
     handgun Serial     # WAE950; One (l ) Rock River   7.62 Nato Lar-8   Rifle Serial # UT 103945 with a
21
     Nikon Scope and biped; One (l) AK47 Pistol Serial Number M92PV042234; and assorted
22
     ammunition.
23

24

     MOT10N FOR FNAL ORDER
     OF FORFEITURE‐           1



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 1          2.       Pursuant to   2l U.S.C. $ 853(n)(l),   the Court instructed the United States to

 2   publish notice of the Preliminary Order and the govemment's intent to dispose of the weapons

 3   and assorted ammunition.

 4          3.       In accordance with   2l U.S.C. $ 853(n)(l)    and the provisions of the Preliminary

 5   Order of Forfeiture, the United States had published for 30 consecutive days, notices ofthe

 6   Order on the govemment's offrcial intemet website, www.forfeitue.qov as required, advising

 7   any person having or claiming to have a legal interest in the weapons and ammunition        ofthe

 8   right to file a claim contesting the forfeiture. Publication of the notice began on ltne 20,2017

 9   and ended   July 19,2017 .   See Declaration   of Publication, ECF   No.@
10          4. ne time fOr■ ling          petitions for the weapons and atnmunluon has expired,and no

11   third paw haS made any cldm to or declared any interestin the currency.

12          WIIEREFORE,the United States respectmly moves this HOnorable Court fOr a Final

13   Order ofForfei血 ,declaring the weapons and alnmunltion be fofeited to the United States,

14   vesttg ill nght,title and interest in this propen/tO the united States,and which will be

15   disposed ofby the U.S.Drug and Enforcement Agency(DEA)and/Orthe U.S.Marshals Service

16   pursuant to law.

17          Respecn■ けsubmitted this■            day ofAuttt,2017.

18                                           “
                                                              SHAWN N ANDERSON
19                                                            Acting United Statcs Attomey


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21                                                    By:


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23

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     MOTION FOR FNAL ORDER
     OF FORFEITURE-2
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